                   Case 1:25-cv-00415-ACR             Document 11         Filed 02/13/25        Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                     District
                                               __________     of Columbia
                                                           District of __________


                   Robert P. Storch, et al.                    )
                             Plaintiff                         )
                                v.                             )      Case No. 1:25-cv-00415 (ACR)
                     Pete Hegseth, et al.                      )
                            Defendant                          )

                                                APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff Robert P. Storch, et al.                                                                            .


Date:          02/13/2025                                                             /s/ Hillary Chutter-Ames
                                                                                         Attorney’s signature


                                                                           Hillary Chutter-Ames, N.Y. Bar No. 5960075
                                                                                     Printed name and bar number
                                                                            Wilmer Cutler Pickering Hale and Dorr LLP
                                                                                2100 Pennsylvania Avenue N.W.
                                                                                    Washington, D.C. 20037

                                                                                               Address

                                                                               hillary.chutter-ames@wilmerhale.com
                                                                                            E-mail address

                                                                                          (202) 663-6107
                                                                                          Telephone number

                                                                                          (202) 663-6363
                                                                                             FAX number
